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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                CIVIL MINUTES – JURY TRIAL
                                              Day Five


   Case No.: 3:17CV72                  Date: October 29, 2021

     Elizabeth Sines, et al                        Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                  Karen Dunn, Jessica Phillips, Alan Levine,
                                                   David Mills, Arpine Lawyer, William
     v.                                            Isaacson, Alexandra Conlon

     Jason Kessler, et al                          Counsel: James Kolenich, Bryan Jones,
     Defendant(s)                                  David Campbell, Joshua Smith,

                                                   Richard Spencer, pro se, Christopher
                                                   Cantwell, pro se

                                                   William ReBrook Counsel Appearing by
                                                   Zoom; Dillon Hopper, pro se, Appearing
                                                   by Zoom



   PRESENT: JUDGE:                   Norman K. Moon               TIME IN COURT: 9:30-
   10:40= 1hr 10min; 11:00-12:20=1hr 20min; 1:35-2:45; 1hr 10min; 3:05-4:45=5hr 20min
                Deputy Clerk:        Heidi Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                       LIST OF WITNESSES

       PLAINTIFF                                        DEFENDANT
     1.                                            1.



   PROCEEDINGS:
        Plaintiff presents/continues presentation of evidence.

   Additional Information:
   Court in session.
   Preliminary matters addressed.
   Jury called.
   Break
   Testimony resumes
   Cross of witness begins
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   Break
   Issues with video and audio addressed.
   Jury recalled.
   Cross continues.
   Break
   Testimony of next witness begins.
   Court adjourns for the day until 9:00 a.m. on Monday Nov. 1.
